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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW MEXICO

PATRICK BARELA, both individually
and as Personal representative on behalf of
The Estate of Martha Barela,

        Plaintiff,

v.                                            Case No. 1:16-cv-00577-WJ-KBM

MINNESOTA LIFE INSURANCE
COMPANY,

        Defendant.


                     ORDER OF DISMISSAL WITH PREJUDICE

             THIS MATTER having come before the Court on the Stipulation to
Dismiss With prejudice brought by the plaintiff Patrick Barela and the defendant
Minnesota Life Insurance Company, and the Court having reviewed the Stipulation
and being otherwise fully advised, finds that good cause for the Stipulation exists
and it should be granted.
             IT IS ORDERED that all claims brought or that could have been
brought in this action between the plaintiff Patrick Barela and the defendant
Minnesota Life Insurance Company are dismissed with prejudice. The parties are
to bear their own costs.


                                  UNITED STATES DISTRICT COURT JUDGE




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Submitted/Approved by:

By /s/ Ann-Martha Andrews
Ann-Martha Andrews
Ryan M. Walters
LEWIS ROCA ROTHGERBER CHRISTIE LLP
Attorneys for Minnesota Life Insurance
Company
201 Third Street NW, Suite 1950
Albuquerque. NM 87102
Tel: 505-764-5400
Fax: 505-764-5480
aandrews@lrrc.com
rwalters@lrrc.com

By /s/ David D. Chavez (with permission)
David D. Chavez
THE LAW FIRM OF DAVID C. CHAVEZ, LLC
651 New Mexico Highway 314, SW
Los Lunas, NM 87031
TEL: 505-865-9696
FAX: 505-865-4820

Brian G. Grayson
GRAYSON LAW OFFICE, LLC
4700 Lincoln Road NE, Suite #107
Albuquerque, NM 87199
TEL: 505-273-8570
FAX: 505-214-5007

Attorneys for Plaintiff




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